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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10                                  (Honorable Jeffrey T. Miller, Judge)
11   UNITED STATES OF AMERICA,                 )
                                               ) Case No. 09-CR-0920-JM
12                     Plaintiff,              )
                                               ) ORDER FOR AUTHORIZATION OF
13   vs.                                       ) INTERIM PAYMENTS
                                               )
14   EDMUND RIVERA (2),                        )
                                               )
15                                             )
                       Defendant.              )
16   __________________________________________)
17          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT interim payments to counsel
18   be allowed in the above captioned case.
19          SO ORDERED.
20   DATED: November 3, 2009
21
                                                    Hon. Jeffrey T. Miller
22                                                  United States District Judge
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                                 ORDER FOR AUTHORIZATION OF INTERIM PAYMENTS
